        Case 1:16-cr-00052-DLH               Document 359            Filed 08/22/17         Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                            )
                                                     )
                 Plaintiff,                          )        ORDER
                                                     )
        vs.                                          )
                                                     )
Alexander Garcia Colon,                              )        Case No. 1:16-cr-052
                                                     )
                 Defendant.                          )


        Defendant is in custody awaiting sentencing.1 He is being housed at the Heart of America

Correctional and Treatment Center (“HACTC”) in Rugby, North Dakota. He previously filed a

motion requesting to be conditionally release pending final disposition of this matter. The court

denied the motion, citing, amongst other things, outstanding arrests for defendant in South Dakota.

         On August 18, 2017, he filed a “Motion to Attend South Dakota Sentencing by ITV and

Subsequent Release to a Halfway House.” In an effort to dispose of his outstanding warrants, he

requests the court’s permission to appear for sentencing on the South Dakota matter via video from

HACTC and thereafter be released to a residential facility pending sentencing in this matter. He

anticipates that the court in South Dakota will (1) impose a sentence commensurate with time he has

spent in federal custody, and (2) fully credit the time he has spent in federal custody.

        Although the court appreciates the efforts undertaken by defendant to dispose of his

outstanding South Dakota warrants, the court is not inclined to grant his request to facilitate his

appearance on an out-of-state matter via video. Defendant is currently in the custody of the Attorney

        1
          Defendant executed a plea agreement and on March 17, 2017, entered a plea to the offenses charged in Counts
One and Three of the Indictment. (Doc. Nos. 245, 259). The plea agreement provides in relevant part that, at
sentencing, the Government will recommend a term of imprisonment within the applicable guideline range, or the
minimum mandatory, whichever is greater. (Doc. No. 245).

                                                         1
        Case 1:16-cr-00052-DLH                Document 359            Filed 08/22/17         Page 2 of 2




General, whose designated representative--the United States Marshal--apparently objected to a

similar request lodged by defendant in January 2017. In so doing, the United States Marshal was

acting within his discretionary authority.2

         Defendant’s motion (Docket No. 354) is DENIED.

         IT IS SO ORDERED.

         Dated this 22nd day of August, 2017.

                                                               /s/ Charles S. Miller, Jr.
                                                               Charles S. Miller, Jr., Magistrate Judge
                                                               United States District Court




         2
            Defendant can take solace in the fact that he will continue to earn credit toward any term of imprisonment
that the court may impose at sentencing.

                                                          2
